
USCA1 Opinion

	




       No. 96-2215
                              UNITED STATES OF AMERICA,
                                      Appellee,
                                         v.
                                  REBECCA B. WHITE,
                                Defendant, Appellant.
                                                    
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                       [Hon. Gene Carter, U.S. District Judge]
                                                    
                                       Before
                                Selya, Circuit Judge,
                             Cyr, Senior Circuit Judge,
                             and Boudin, Circuit Judge.
                                                    
            David Beneman, with whom Levenson, Vickerson &amp; Beneman was on
       brief for appellant.
            Margaret D. McGaughey, Assistant United States Attorney, with
       whom Jay P. McCloskey, United States Attorney, and Jonathan A. Toof,
       Assistant United States Attorney, were on brief for appellee.
                                                    
                                    July 28, 1997
                                                    

                    CYR, Senior  
                                 Circuit  
                                         Judge. Defendant Rebecca White
          challenges a district court ruling which declined to sentence her
          below the statutory minimum prescribed by the Sentencing Reform Act
          of 1984, 21 U.S.C. S 841(b)(1)(A)(vii), pursuant to the so-called
          "safety valve" provisions,  see 18 U.S.C. S 3553(f); U.S.S.G. S
          5C1.2, on the ground that White had not truthfully provided the
          government with all the information and evidence she had concerning
          her offense. See 18 U.S.C. S 3553(f)(5); U.S.S.G. S 5C1.2(5).
                                                                        As
          there was no error, we affirm.
                                          I
                                     BACKGROUND
                    Along with eight codefendants and various other individu-
          als, White was involved in a large-scale, long-term marijuana
          distribution ring from 1986 to 1994. Led by Stuart Smith and
          White's then-boyfriend (and current husband), Gary Dethlefs, the
          conspiracy was responsible for importing tens of thousands of
          kilograms of marijuana from Arizona, Texas and Mexico for distribu-
          tion in Maine and Massachusetts. The business hub of the conspira-
          cy was a farm in Mansfield, Massachusetts, owned by White and her
          three siblings, at which White and Dethlefs resided. There,
          marijuana shipments were received for storage, packaging and
          distribution, drug transactions were negotiated, and large cash
          sums representing drug proceeds were kept. White, and others under
                              
               Since the relevant statutory and sentencing guideline provi-
          sions contain identical language, we cite only to the sentencing
          guideline. 
                                          2

          her direction, counted and packaged the cash for delivery to the
          marijuana suppliers. White purchased hundreds of thousands of
          dollars in money orders and cashier's checks, with which to cover
          operating expenses. A calendar recovered at the farm contained
          numerous cryptic notations by White, recording marijuana-related
          financial transactions in which the criminal enterprise engaged. 
                    Ultimately, White was indicted for, 
                                                       inter 
                                                             alia, conspir-
          ing to possess, with intent to distribute, more than one thousand
          kilograms of marijuana. See 21 U.S.C. SS 841(a)(1), 841(b)(1)(A),
          846. After pleading guilty, she submitted to three so-called
          "safety valve" interviews by government agents, during which she
          proffered information regarding the marijuana conspiracy, including
          her role in it. At sentencing, the parties disagreed about whether
          the "safety valve" proffer made by White had been fully forthcoming
          and truthful.
                    The government represented to the court that White had
          displayed reluctance to make full disclosure. For example, it
          emphasized that she had failed to disclose all her information
          about a particular marijuana supplier until the agents challenged
          her omissions with various notations from her calendar, 
                                                                 supra, and
          that she had not been fully forthcoming about an individual who had
          supplied her with cocaine for her own use. The government
          maintained that White had portrayed herself in the role of a
          minimal, passive participant without much direct knowledge of the
                              
               Based on these facts, the presentence report ("PSR") de-
          scribed White as the money launderer/manager of the conspiracy.
                                          3

          criminal conduct in which the enterprise was engaged.
                                                               The govern-
          ment insisted, on the other hand, that White had played an integral
          role in the conspiracy, serving as the financial manager and
          "brains" of the drug operation. 
                    At sentencing, Agent O'Donoghue, who had investigated the
          marijuana conspiracy and participated in two "safety valve"
          interviews, testified that though the information White provided
          was consistent, in most respects, with intelligence gathered by the
          government from other sources, she had not been forthcoming about
          either the marijuana supplier or her personal cocaine supplier and
          she had tried to minimize her own role in the conspiracy. The
          presiding judge likewise expressed unease that White appeared to
          have portrayed herself in a lesser role, stating that he was very
          familiar with the case, in part due to his involvement in related
          proceedings against certain coconspirators, and that it seemed
          White had played a more central role than she admitted to during
          her "safety valve" interviews.
                    White responded that any vagueness in her disclosures
          during the "safety valve" interviews had resulted from her alcohol
                              
               Notes recorded during the first "safety valve" interview
          reflect as follows: 
                    White contended that her role in the conspira-
                    cy (for which she was convicted) was that of a
                    minor participant. According to White, she
                    suspected that there was a lot more criminal
                    activity than she actually knew about. White
                    reportedly did not want to know of suspected
                    drug trafficking activities that were occur-
                    ring around her, so she insulated herself by
                    remaining uninformed.
                                          4

          and drug abuse, and that she had minimized her role because that
          was the way she actually perceived it as a consequence of her
          clinical depression syndrome. White supported her theory with a
          report and testimony from a psychologist. 
                    The district court established the guideline sentencing
          range (GSR) at 108 to 135 months and noted that the statutory
          minimum sentence for the offense was 120 months, see 21 U.S.C. S
          841(b)(1)(A)(vii). The district court noted, however, that but for
          the statutory minimum, it would have departed below the GSR, to 72
          months' incarceration. Finally, although the court could have
          imposed a sentence below the statutory minimum had White met the
          "safety valve" requirements under U.S.S.G. S 5C1.2, it decided
          instead to sentence her to 120 months' incarceration on the ground
          that she still had not 
                                truthfully provided the government with all
          information and evidence she possessed concerning her offense, in
          accordance with the requirements of U.S.S.G. S 5C1.2(5) that    
                    not later than the time of the sentencing
                    hearing, the defendant has 
                                              truthfully provided
                    to the Government 
                                     all information and evidence
                    the defendant has concerning the offense or
                    offenses that were part of the same course of
                    conduct or of a common scheme or plan, but the
                    fact that the defendant has no relevant or
                    useful other information to provide or that
                    the Government is already aware of the infor-
                    mation shall not preclude a determination by
                    the court that the defendant has complied with
                    this requirement. 
          U.S.S.G. S 5C1.2(5) (emphasis added). Specifically, the district
          court found that White's "safety valve" interviews untruthfully
          minimized her role in the conspiracy and disclaimed direct
          knowledge about the conspiracy. The district court further found
                                          5

          the report and testimony provided by the psychologist insuffi-
          ciently credible or reliable either to explain away or excuse
          White's untruthfulness. White asserts several claims of error, to
          which we now turn. 
                                         II
                                     DISCUSSION
                    First, White claims that once she had satisfied her
          preliminary burden by demonstrating compliance with U.S.S.G. S
          5C1.2 through her "safety valve" proffer, the government was
          required to rebut her initial showing.     See  United  
                                                                 States v.
          Miranda-Santiago, 96 F.3d 517, 529 &amp; n.25 (1st Cir. 1996). White
          argues that she credibly demonstrated that she had provided the
          government with all information she reasonably could have been
          expected to possess, that the government's attempted rebuttal
          failed, see supra note 4, and that she therefore was entitled to
          relief under the "safety valve" provision. She likewise assigns
          error in a so-called " sua sponte" factual determination by the
          district court that her proffer had been untruthful, in that it
          portrayed her in a minor conspiratorial role, since no such
                              
               The district court supportably determined that the two items
          highlighted by the government as examples of incomplete disclosure
          by White    regarding the marijuana supplier and her personal
          cocaine supplier 
                             were irrelevant to the "safety valve" determi-
          nation. It determined that White 
                                          eventually did disclose all known
          information about the marijuana supplier before sentencing,   see
          U.S.S.G. S 5C1.2(5) ("not later than the time of the sentencing
          hearing, the defendant has truthfully provided . . ."), and that
          her personal cocaine supplier was not connected with the offense
          conduct, see id. ("all information and evidence . . . concerning
          the offense or offenses that were part of the same course of
          conduct or of a common scheme or plan . . . .").
                                          6

          contention was ever raised by the government. Finally, White
          contends that the findings of fact made by the district court were
          based upon its recollection of the trial and sentencing of her
          coconspirators, but that no record evidence in these proceedings
          supports its findings. We disagree.
                    Contrary to White's contention, the record clearly
          demonstrates that the government consistently maintained that her
          "safety valve" proffer had been untruthful in portraying herself as
          a minor participant in the marijuana enterprise.   Although the
          government did emphasize her lack of disclosure regarding the
          marijuana and cocaine suppliers, it cited those instances to
          demonstrate its more generalized concerns with the disclosure.
                    Furthermore, White's suggestion that the district court
                              
               Although White likewise represents that it was error to hold
          that a defendant cannot benefit from the "safety valve" provision
          unless she provides the information in a form useful to the govern-
          ment, the district court made no such ruling. 
               On appeal, interpretations of the "safety valve" provisions,
          under the statute, 18 U.S.C. S 3553(f), and the guideline, U.S.S.G.
          S 5C1.2, are reviewed de novo. On the other hand, we review for
          clear error the factual findings relating to whether a defendant
          has qualified for the "safety valve" provisions.    See  Miranda-
          Santiago, 96 F.3d at 527. 
               For example, at one point the government argued that White
          should not receive the benefit of the "safety valve" provision, due
          to "her lack of [candor,] . . . . [S]he was less than honest with
          us and; secondly, . . . she was the brains behind the outfit in our
          estimation, as far as being able to handle the finances and make
          arrangements for payment. She is more than a minor participant."
          The government later provided clear support for its position, by
          asking Agent O'Donoghue to describe White's role in the conspiracy.
          O'Donoghue responded that it was his "impression she tried to
          minimize or give us the impression of minimizing her particular
          role in the conspiracy." 
                                          7

          somehow acted "sua sponte" in making its findings regarding her
          role in the conspiracy cannot withstand scrutiny. For one thing,
          the appropriateness of White's portrayal of her role in the
          conspiracy was in dispute throughout the sentencing hearing.
          Consequently, her claim that the district court committed legal
          error by assuming the government's mantle in attempting to rebut
          her contention is groundless.
                    More importantly, the district court could not rule on
          White's request for relief under the "safety valve" provisions
          without first making its own    independent determination as to
          whether she had satisfied U.S.S.G. S 5C1.2, including its require-
          ment that all information she possessed about the offense conduct
          had been truthfully disclosed, id. S 5C1.2(5).   See id. S 5C1.2
          ("the court shall impose a sentence in accordance with the
          applicable guidelines . . . if the court finds that the defendant
          meets the criteria. . .") (emphasis added); Miranda-Santiago, 96
          F.3d at 530 n.27 ("a plea agreement    even a binding one    does
          not replace the independent determination of the district court as
          to whether this [safety valve] provision applies."); 
                                                              United States
          v. Montanez, 82 F.3d 520, 523 (1st Cir. 1996) ("It is up to the
          defendant to persuade the district court that he has 'truthfully
          provided' the required information and evidence to the government.
          . . . such a determination would rest in the hands of the judge,
          not the prosecutor."); 
                                United States
                                              v. 
                                                 Thompson, 81 F.3d 877, 880
          (9th Cir. 1996) ("it is the court, and not the Government, that
          determines whether a defendant qualifies for relief under S
                                          8

          5C1.2"). Therefore, were the sentencing court required to
          predicate its "safety valve" determination only on theories raised
          by the government, as White insists, its responsibility for
          arriving at an independent determination regarding a criminal
          defendant's eligibility for relief would be unduly restricted.
                    White's further argument that the government was required
          to produce rebuttal evidence is premised entirely on our statement
          in Miranda-Santiago, that once a defendant credibly demonstrates
          that she has provided all information she reasonably could have
          been expected to possess, "[t]he government cannot assure success
          simply by saying 'We don't believe the defendant,' and doing
          nothing more."  Miranda-Santiago, 96 F.3d at 529. Rather, "the
          government must at least come forward with some sound reason to
          suggest otherwise." Id. at 529 n.25. White argues that since the
          government cannot simply say: "we don't believe," then neither can
          the district court. Miranda-Santiago is inapposite to the present
          dispute, however.
                    There was no evidence that the defendant in Miranda-
          Santiago had been untruthful in her "safety valve" proffer, even
          though the government there incorrectly contended that her "failure
          [to be truthful] '[could] be gleaned from the Presentence Report.'"
          Id. at 526. The district court apparently adopted the government's
          characterization of the PSR, in toto, as it simply concluded that
          "5C1.2 does not apply, because [the defendant] has not cooperated
          fully as required by guideline Section 5C1.2(5)." 
                                                           Id. Contrary to
          the government's suggestion, however, the PSR had afforded direct
                                          9

          support for the defendant's claim that she had played a minor,
          passive role in the conspiracy.  Id. at 529.
                    Thus, Miranda-Santiago in no sense suggests that the
          sentencing court cannot arrive at an independent determination
          regarding a criminal defendant's truthfulness, based on the
          evidence before it. Rather, we there held merely that it was clear
          error to conclude that the defendant had been untruthful, based
          solely on a PSR which directly contradicted the district court's
          determination.  See id. at 529-530 ("[the] district court's bare
          conclusion that [the defendant] did not 'cooperate fully,' absent
          either specific factual findings or easily recognizable support in
          the record, cannot be enough to thwart her effort to avoid
          imposition of a mandatory minimum sentence.").
                    On the other hand, the district court below made detailed
          findings regarding White's untruthfulness:
                    What troubles me is that early on in this
                    interview she attempted to minimize her role
                    in this conduct, the total offense conduct of
                    this conspiracy. And I am, as certain as I am
                    sitting here, that she is untruthful in that
                    respect; she was untruthful. . . . And it is
                    not at all as she portrayed it and attempted
                    to portray it. . . . she was a very integral
                    part of the supervision and management and
                    operation of this conspiracy. And it was
                    disingenuous and dishonest of her, in my view,
                    . . . to portray to the officers and Mr. Toof
                    in the course of this safety valve debriefing,
                    that she has a minimal role, that she didn't
                    know very much about it, that she didn't
                    understand all of the things that happened,
                    and to relate the information as if it was
                    something that came to her by hearsay and by
                    indirect knowledge. . . . 
                         She had been in this conspiracy for a
                    long time. The nature of her conduct, as I
                    know it to have been, was on a daily basis,
                                         10

                    tending to the business affairs of the con-
                    spiracy that at any given time involved the
                    distribution of very significant quantities of
                    marijuana, the storage of it, the warehousing
                    of it, the procuring of it, and the managing
                    of the distribution at any given time of hun-
                    dreds and thousands of dollars over a period
                    of time, several times . . . 
          (Oct. 16, 1996 Trans. at 68-70). Thus, the district court, based
          on extensive evidence and after vigorous argumentation by counsel,
          made the carefully considered determination that White lacked
          credibility. ( See, e.g., Oct. 16, 1996 Trans. at 66: "I have
          given a huge amount of thought . . . to this issue . . . and I have
          . . . th[is] difficulty with her conduct . . . ."). Its finding
          therefore went well beyond the "bare conclusion" relied upon in
          Miranda-Santiago, 96 F.3d at 529.
                    Finally, ample record evidence supported the district
          court finding. For one thing, the PSR fairly characterized White
          as having played a major role in the conspiracy, as its money
          launderer/manager. See 
                                 supra note 2. Indeed, most conspiratorial
          conduct attributed to her in the PSR was never challenged by White,
          who chose instead to debate its 
                                         characterization that she had been
          a supervisor or manager. Similarly, White declined the opportunity
          to cross-examine Agent O'Donoghue, who testified that she had
          attempted to minimize her role in the conspiracy and that she was
          more actively involved than she wanted the government agents to
          believe. Accordingly, there was no error.
                                         11

                                         III
                                     CONCLUSION
                    For the reasons discussed above, the district court
          judgment is affirmed.
                                         12


